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 8                                  UNITED STATES DISTRICT COURT
 9                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
10
11    ROGER McINTOSH,                                     Case No. 1:07-CV- 01080 LJO-GSA
12                             Plaintiff,                 JOINT STIPULATION IN SUPPORT OF
                                                          PARTIAL WITHDRAWAL OF MOTION
13    v.                                                  TO EXTEND DISCOVERY FOR
                                                          LIMITED PURPOSES
14    NORTHERN CALIFORNIA UNIVERSAL
      ENTERPRISES COMPANY, a California                   DATE: August 21, 2009
15    corporation; LOTUS DEVELOPMENTS,                    TIME: 9:30 a.m.
      LLP; THE CITY OF WASCO, a municipal                 DEPT.: 10
16    corporation; DEWALT CM, INC., a California
      corporation also doing business as DEWALT
17    CORPORATION; and DOES 1 through 10,
      inclusive
18
                               Defendants.
19
20
21                              STIPULATION TO EXTEND DISCOVERY
22                   WHEREFORE, counsel for Northern California Universal Enterprises Company and
23   Lotus Developments, LLP (collectively "Northern") and plaintiff Roger McIntosh have continued
24   to meet and confer regarding the dispute underlying the recent re-filed motion;
25                   WHEREFORE, the parties have agreed that, as to Northern, limited discovery would
26   be acceptable for the specific purposes outlined below;
27                   WHEREFORE, to obtain these facts, the undersigned believe extending discovery
28   will serve the interests of all parties' claims;
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 1                  WHEREFORE, each of the parties are acting in good faith and have not brought this
 2   Stipulation for any improper purpose; and
 3                  THEREFORE, IT IS HEREBY STIPULATED by and between Jeffrey A. Travis of
 4   Borton Petrini, LLP, counsel for plaintiff and Steven J. Hassing of the Law Offices of Steven J.
 5   Hassing, counsel for Northern that discovery be extended as follows:
 6                  1.      Northern will make a person most knowledgeable available for deposition on
 7   the specific topic of profits and loss relating to Valley Rose Estate Subdivision and which will take
 8   no longer than one hour;
 9                  2.      Prior to August 12, 2009, Northern will provide supplemental responses
10   without objections to plaintiff's Request for Admissions (Set No. Two) propounded on Northern;
11                  3.      Prior to August 12, 2009, Lotus will provide supplemental responses without
12   objections to plaintiff's Request for Admissions (Set No. Two) propounded on Lotus.
13                  4.      Prior to August 12, 2009, Northern will provide supplemental responses
14   without objections to plaintiff's Request for Production of Documents (Set No. Three) propounded
15   on Northern;
16                  5.      Prior to August 12, 2009, Lotus will provide supplemental responses without
17   objections to plaintiff's Request for Production of Documents (Set No. Three) propounded on Lotus;
18                  6.      Northern will not object to the taking of the deposition of Josh Woodard and
19   provided there are no calendaring conflicts; and
20                  7.      Those parts of the recently filed motion that relate to the above topics shall
21   be withdrawn pursuant to this Stipulation.
22   DATED: August 5, 2009
23                                         BORTON PETRINI, LLP
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25
                                           By:     /s/ Jeffrey A. Travis
26                                               Jeffrey A. Travis, Attorney for Plaintiff,
                                                 Roger McIntosh dba McIntosh & Associates
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 1   DATED: August _5__, 2009
                                        LAW OFFICES OF STEVEN J. HASSING
 2
 3
 4                                      By:       /s/ Steven J. Hassing______________________
                                              Steven J. Hassing, Attorney for Defendants, Northern
 5                                            California Universal Enterprises Company and Lotus
                                              Developments, LLP
 6
 7                                             ORDER
 8
              IT IS SO ORDERED.
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              Dated:   August 6, 2009                   /s/ Gary S. Austin
10   6i0kij                                        UNITED STATES MAGISTRATE JUDGE
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